                             EXHIBIT A


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                                         20
                                                                                               1 Mark S. Bostick (Bar No. 111241)
                                                                                                 Lisa Lenherr (Bar No. 258091)
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                                                                                               4 Fax: (510) 834-1928
                                                                                                 Email: mbostick@wendel.com
                                                                                               5 Email: llenherr@wendel.com
                                                                                                 Attorneys for Lois I. Brady, Trustee
                                                                                               6

                                                                                               7

                                                                                               8                               UNITED STATES BANKRUPTCY COURT

                                                                                               9                               NORTHERN DISTRICT OF CALIFORNIA

                                                                                              10                                         OAKLAND DIVISION

                                                                                              11

                                                                                              12 In re                                                 Case No. 20-40990-RLE
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                                                                                              13 FAIRN & SWANSON, INC.                                 Chapter 7

                                                                                              14
                                                                                                                         Debtor.                       PRE-SALE STIPULATION
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                                                                                                            LOIS I. BRADY, as Chapter 7 Trustee ("Trustee") of the above-captioned Fairn &
                                                                                              19
                                                                                                   Swanson, Inc. ("Debtor") bankruptcy estate, and WELLS FARGO BANK, NATIONAL
                                                                                              20
                                                                                                   ASSOCIATION or its successor or assigns ("Lender"), (collectively referred to as the "Parties"),
                                                                                              21
                                                                                                   stipulate as follows concerning the Trustee’s future use of cash collateral and borrowing of
                                                                                              22
                                                                                                   postpetition loans from Lender (the "Pre-Sale Stipulation"):
                                                                                              23
                                                                                                                                               RECITALS
                                                                                              24
                                                                                                            A.     On June 2, 2020 (the "Petition Date"), Debtor filed a voluntary petition (the
                                                                                              25
                                                                                                   "Petition") under Chapter 7 of the United States Bankruptcy Code.1 (Docket No. 1.)
                                                                                              26
                                                                                                            B.     According to Debtor, on the Petition Date its assets, as defined by section 541 of
                                                                                              27

                                                                                              28   1
                                                                                                       11 U.S.C. §§ 101 et seq. (the "Bankruptcy Code").

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                                                                                                   STIPULATION
                                                                                                                                            20
                                                                                               1 the Bankruptcy Code (property of the estate) (the "Assets"), had a value of $42,939,730.22.

                                                                                               2 (Docket No. 1, p. 6, filed June 2, 2020 (Schedules).)

                                                                                               3          C.     Lender asserts a claim in the amount of not less than $19,081,233.82, secured by

                                                                                               4 substantially all of the Debtor's assets (the "WFB Claim"). (Claim No. 31, filed July 8, 2020.)

                                                                                               5          D.     On or about June 25, 2020, Trustee and Lender entered into a stipulation (the

                                                                                               6 "Cash Collateral Stipulation") for Trustee's use of cash collateral as that term is defined in

                                                                                               7 section 363(a) of the Bankruptcy Code (the "Cash Collateral"). (Docket No. 17-1, pp. 2-171,

                                                                                               8 filed June 26, 2020.) A true and correct copy of the Cash Collateral Stipulation (without exhibits)

                                                                                               9 is attached hereto as Exhibit A.

                                                                                              10          E.     On July 23, 2020, the Court entered Final Order Granting Motion of Chapter 7

                                                                                              11 Trustee for Entry of Order: 1) Approving Cash Collateral Stipulation Pursuant to 11 U.S.C. §

                                                                                              12 363(b); and 2) Authorizing Trustee to Incur and Pay Certain Administrative Expenses (the "Final
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                                                                                              13 Order"). (Docket No. 59.) A true and correct copy of the Final Order is attached hereto as Exhibit

                                                                                              14 B.

                                                                                              15          F.     The Cash Collateral Stipulation provides for both a Professionals' Carveout2 in an

                                                                                              16 amount to be determined though approved budgets and subsequent budgets, and a Trustee's

                                                                                              17 Carveout up to an amount of $100,000.

                                                                                              18          G.     In addition, the Cash Collateral Stipulation provides that all budgeted items (the

                                                                                              19 "Administrative Expenses") may be paid from Cash Collateral. The Administrative Expenses are

                                                                                              20 described as follows:

                                                                                              21                         (a)    Post-Petition Rent;
                                                                                                                         (b)    Security for all locations;
                                                                                              22                         (c)    Insurance for all locations and all estate assets;
                                                                                                                         (d)    Warehouse expenses;
                                                                                              23
                                                                                                                         (e)    Utilities;
                                                                                              24                         (f)    KIS IT Services;
                                                                                                                         (g)    SAMCO Accounting Software;
                                                                                              25                         (h)    Non-Professional Assistance and associated Costs (including payroll
                                                                                                                                taxes, payroll service or other)
                                                                                              26                         (i)    Other Misc. Expenses.
                                                                                              27
                                                                                                 2
                                                                                                   Terms not defined herein shall have the meaning ascribed to them in the Cash Collateral
                                                                                              28 Stipulation.


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                                                                                                   STIPULATION                                     2
                                                                                                                                           20
                                                                                               1
                                                                                                          H.       Through August 31, 2020, the known actual and unpaid expenses permitted to be
                                                                                               2
                                                                                                   paid from Cash Collateral pursuant to the terms of the Cash Collateral Stipulation are as follows
                                                                                               3

                                                                                               4 (such known amounts, plus any additional amounts that were actually incurred by the Trustee

                                                                                               5 during such period for Security, Insurance, Utilities and Payroll, are collectively referred to as the

                                                                                               6 "Pre-Stipulation Accruals"):

                                                                                               7
                                                                                                                                                           June 2-August 31,
                                                                                               8                   Accrued But Unpaid Expense                    2020
                                                                                                               Post-Petition Rent                              444,200
                                                                                               9               Security                                          2,517
                                                                                              10               Insurance
                                                                                                               Warehouse Expenses
                                                                                              11               Utilities                                         44,295
                                                                                                               KIS IT Services
                                                                                              12
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                                                                                                               SAMCO Accounting Software                           7,300
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                                                                                              13
                                                                                                               Payroll                                            23,546
                                                                                              14               Other Misc. Expenses                               10,000
                                                                                                               Trustee's Counsel                                  381,159
                                                                                              15               Trustee's Accountant                               31,633
                                                                                                               Trustee Carveout                                  100,000
                                                                                              16
                                                                                                                                        Subtotal                $1,044,650
                                                                                              17               TOTAL JUNE -AUGUST

                                                                                              18
                                                                                                          I.       Since the Petition Date, Trustee and Lender have diligently worked together to
                                                                                              19
                                                                                                   market Debtor's Assets for sale but have not yet received an offer for the Assets that is likely to
                                                                                              20

                                                                                              21 repay the WFB Claim in full. However, Trustee and Lender have identified several potential

                                                                                              22 purchasers for the Assets, and the Trustee anticipates filing a motion to approve a sale and related

                                                                                              23 sale procedures in the immediate future.

                                                                                              24
                                                                                                          J.       The United States Department of Justice, U.S. Trustee Program, Handbook for
                                                                                              25
                                                                                                   Chapter 7 Trustees ("Handbook"), provides that trustees should not administer assets that will not
                                                                                              26
                                                                                                   "result in a meaningful distribution to creditors or would redound primarily to the benefit of the
                                                                                              27

                                                                                              28 trustee and professionals." (Handbook, Ch. 8, § D (Abandonments).)


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                                                                                                   STIPULATION                                       3
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                                                                                               1          K.      Notwithstanding the possibility of being undersecured, Lender desires Trustee's

                                                                                               2 assistance in facilitating a sale of the Assets; in order to do so, Trustee requires the continued use

                                                                                               3
                                                                                                   of Cash Collateral and postpetition financing to preserve and liquidate the Assets for payment,
                                                                                               4
                                                                                                   among other things, of the WFB Claim. Further, the Parties have agreed to enter into this
                                                                                               5
                                                                                                   Stipulation in order to provide a meaningful distribution to unsecured creditors in an amount not
                                                                                               6

                                                                                               7 less than $500,000.

                                                                                               8          L.      The terms below have been negotiated at arm's length and in good faith.

                                                                                               9          M.      Under the circumstances of this Case, the parties believe this stipulation is fair and
                                                                                              10 reasonable and in the best interest of Debtor's estate and its creditors.

                                                                                              11
                                                                                                                                             STIPULATION
                                                                                              12
                                                                                                          In consideration of the foregoing, the mutual promises, covenants, obligations, and
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                                                                                              13
                                                                                                   agreements contained herein, and for other good and valuable consideration, the Parties agree as
                                                                                              14
                                                                                                   follows:
                                                                                              15
                                                                                                          1.      Recitals Incorporated. The foregoing recitals are true and correct and each such
                                                                                              16
                                                                                                   recital is incorporated herein.
                                                                                              17
                                                                                                          2.      Bankruptcy Court Approval Required. The effectiveness of this Stipulation is
                                                                                              18
                                                                                                   conditioned upon the Bankruptcy Court’s entry of an order approving this Pre-Sale Stipulation that
                                                                                              19
                                                                                                   is mutually acceptable to each of the Parties (the "Stipulation Order").
                                                                                              20
                                                                                                          3.      Sale of Assets. The Parties agree to cooperate towards a prompt sale of
                                                                                              21
                                                                                                   substantially all of the Assets pursuant to section 363 of the Bankruptcy Code (a "Sale") to be
                                                                                              22
                                                                                                   approved by an order of the Bankruptcy Court that is mutually acceptable to each of the Parties
                                                                                              23
                                                                                                   (the "Sale Order"), with all proceeds of such Sale (the "Proceeds") to be distributed in
                                                                                              24
                                                                                                   accordance with the terms of this Stipulation and any Sale Order.
                                                                                              25
                                                                                                          4.      Lender Consent to Payments to the Estate. The liens of Lender shall be subject
                                                                                              26
                                                                                                   to the prior payment of the following, which shall be paid from Cash Collateral or the Proceeds, as
                                                                                              27
                                                                                                   applicable, in each case to the extent not otherwise paid with Postpetition Financing (collectively,
                                                                                              28
                                                                                                   the "Estate Payment"):

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                                                                                                   STIPULATION                                       4
                                                                                                                                             20
                                                                                               1                    4.1.      All Pre-Stipulation Accruals;

                                                                                               2                    4.2.      The Professionals' Carveout and Trustee's Carveout (defined in the Cash

                                                                                               3 Collateral Stipulation), as amended by Section 5 below;

                                                                                               4                    4.3.      Solely from the Proceeds, a sum of five-hundred thousand dollars

                                                                                               5 ($500,000) for distribution to holders of claims other than Lender (the "Estate Carveout"); and

                                                                                               6                    4.4.      All administrative expenses actually incurred by the Trustee on or after

                                                                                               7 September 1, 2020, through and including the earliest "Termination Event" (defined in the Cash

                                                                                               8 Collateral Stipulation, but as modified herein) to the extent contained in the Budget (defined

                                                                                               9 below) (collectively, the "Post-Stipulation Accruals").

                                                                                              10          5.        Budget. The "Budget" as defined in the Cash Collateral Stipulation, is hereby

                                                                                              11 supplemented by the budget attached hereto as Exhibit C for the periods set forth therein and shall

                                                                                              12 be further supplemented as required to complete a Sale and the sale performance obligations of
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                                                                                              13 Trustee.

                                                                                              14          6.        Time for Payment to Estate. To the extent not paid pre-sale, Lender agrees that

                                                                                              15 upon consummation of any Sale, the Estate Payment shall be paid to the estate first before any

                                                                                              16 Proceeds are paid to Lender; provided, however, the Parties shall agree in the Sale Order upon an

                                                                                              17 estimate of the amount of Post-Stipulation Accruals expected to be first incurred after entry of the

                                                                                              18 Sale Order through the anticipated Termination Event (defined in the Cash Collateral Stipulation,

                                                                                              19 but as modified herein) to occur due to completion of the Sale.

                                                                                              20          7.        Termination Events. Paragraph 6 of the Cash Collateral Stipulation is hereby

                                                                                              21 amended and restated in its entirety as follows:

                                                                                              22          8.        Termination Events.

                                                                                              23                 a. Unless extended by agreement of the parties in writing, this Stipulation expires on

                                                                                              24                    the earliest occurrence of one of the following termination events (the

                                                                                              25                    "Termination Events"):

                                                                                              26                           i. October 31, 2020;

                                                                                              27                        ii. Trustee's failure to comply with the terms of this Stipulation or the Pre-Sale

                                                                                              28                              Stipulation filed in this Case and dated September 10, 2020 (the "Pre-Sale


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                                                                                                   STIPULATION                                          5
                                                                                                                                                20
                                                                                               1                           Stipulation"); provided, however, that this shall not be a Termination Event

                                                                                               2                           until Lender first provides written notice of the failure to comply via email

                                                                                               3                           to mbostick@wendel.com and llenherr@wendel.com, and allows three (3)

                                                                                               4                           business days from the date of such notice to cure the non-compliance;

                                                                                               5                       iii. Trustee files a 11 U.S.C. § 363 sale motion proposing to sell the Pre-

                                                                                               6                           Petition Collateral (a "Sale Motion") on terms unacceptable to Lender, or

                                                                                               7                           Trustee does not file a Sale Motion and related motion to approve sale

                                                                                               8                           procedures that are acceptable to Lender on or before September 15, 2020 ;

                                                                                               9                       iv. Trustee does not obtain, on or before October 5, 2020, an order acceptable

                                                                                              10                           to Lender approving a sale of substantially all of Debtor’s assets;

                                                                                              11                        v. Trustee files a motion to incur debt under 11 U.S.C. § 364 from a party

                                                                                              12                           other than Lender;
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                                                                                              13                       vi. this Case is dismissed; or

                                                                                              14                      vii. if a Sale Order has been entered, on the date that substantially all

                                                                                              15                           obligations of Trustee under the purchase agreement approved by such Sale

                                                                                              16                           Order have been completed or waived; or

                                                                                              17                      viii. On or after the date hereof, Trustee commences a proceeding objecting to or

                                                                                              18                           challenging the extent, validity, perfection, enforceability or priority of the

                                                                                              19                           liens or claims alleged by Lender in this case.

                                                                                              20                 b. Upon the occurrence of a Termination Event, Trustee’s authorization to use Cash

                                                                                              21                    Collateral will automatically end and Trustee shall be prohibited from using Cash

                                                                                              22                    Collateral for any purpose other than paying amounts of the "Estate Payment" (as

                                                                                              23                    defined in the Pre-Sale Stipulation) that have accrued or have been committed to

                                                                                              24                    prior to such Termination Event.

                                                                                              25                 c. The Stipulation and the Pre-Sale Stipulation, including updated Budget(s), may be

                                                                                              26                    extended by agreement of the parties in writing without further Court order.

                                                                                              27          9.        Lender Waiver of Lender Claim. If the Assets sell for less than the amount of the

                                                                                              28 WFB Claim plus the Postpetition Financing, Lender agrees that an amount of the WFB Claim


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                                                                                               1 equal to the aggregate amount of Postpetition Financing will be junior and subordinate to all

                                                                                               2 allowed general unsecured claims against the Debtor.

                                                                                               3           10.    Postpetition Financing

                                                                                               4                  10.1.   From time to time after the date hereof until the occurrence of a

                                                                                               5 Termination Event (as defined in the Cash Collateral Stipulation and as amended hereby), Trustee

                                                                                               6 hereby agrees to borrow from Lender on behalf of the estate, and Lender hereby agrees to advance

                                                                                               7 to Trustee, postpetition loans to Trustee up to an aggregate principal amount of $1,250,000 to be

                                                                                               8 used by the Trustee solely to pay amounts included in the Estate Payment (other than the Estate

                                                                                               9 Carveout) as and when such amounts are due and payable by the Trustee and Cash Collateral is

                                                                                              10 insufficient to pay such amounts (collectively, the "Postpetition Advances"). The Postpetition

                                                                                              11 Advances shall bear interest at a rate equal to the default rate of interest under the Credit

                                                                                              12 Agreement (as defined in the Cash Collateral Stipulation) . The Postpetition Advances and all
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                                                                                              13 interest thereon (collectively, the "Postpetition Financing") shall be due and payable upon a

                                                                                              14 Termination Event (as defined in the Cash Collateral Stipulation and as amended hereby).

                                                                                              15                  10.2.   Superpriority Administrative Expense Status; Postpetition Liens. The

                                                                                              16 Postpetition Financing is hereby granted superpriority administrative expense status under Code §

                                                                                              17 364(c)(1), with priority over all costs and expenses of administration of the Case that are incurred

                                                                                              18 under any provision of the Code, other than the Estate Payment; provided, however, Lender may

                                                                                              19 not assert such administrative expense claim against any claims or causes of action (or proceeds

                                                                                              20 thereof) of the estate arising under any section of chapter 5 of the Bankruptcy Code (collectively,

                                                                                              21 "Avoidance Actions") or against the Estate Carveout. In addition, Lender is hereby granted liens

                                                                                              22 on all property of the estate (other than any and all Avoidance Actions and the Estate Carveout) to

                                                                                              23 secure the Postpetition Financing (the "Postpetition Liens"). Without any further action and

                                                                                              24 without the execution, filing or recordation of any financing statements, security agreements,

                                                                                              25 mortgages or other documents or instrument, the Postpetition Liens: (1) are in addition to

                                                                                              26 Lender’s prepetition liens; and (2) pursuant to Code §§ 364(c)(2), (c)(3) and 364(d), will be valid,

                                                                                              27 perfected first-priority liens, but subject and junior to all existing, unavoidable liens on such

                                                                                              28 assets.


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                                                                                               1          11.     Adequate Protection of Lender’s Prepetition Interests. The Trustee and Lender

                                                                                               2 have agreed to the following adequate protection of Lender’s prepetition interests on account of

                                                                                               3 Lender’s consent and agreement to the terms of this Pre-Sale Stipulation (including, without

                                                                                               4 limitation, regarding the Estate Payment).

                                                                                               5                  11.1.   Priority of Prepetition Liens/Allowance of the WFB Claim. Subject to the

                                                                                               6 terms of Paragraph 11.2 below, the Trustee stipulates and agrees that: (1) the WFB Claim

                                                                                               7 constitutes the legal, valid and binding obligation of Debtor, enforceable in accordance with the

                                                                                               8 terms of Lender’s prepetition loan documents with Debtor; (2) no offsets, defenses or

                                                                                               9 counterclaims to the WFB Claim exist, no portion of the WFB Claim is subject to avoidance,

                                                                                              10 recharacterization or subordination, and Debtor holds no claims or causes of action against

                                                                                              11 Lender; and (3) Lender holds valid, enforceable, first-priority liens or security interests in all

                                                                                              12 assets described as "Collateral" in Debtor’s prepetition loan documents with Lender (including all
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                                                                                              13 proceeds thereof, collectively, the "Prepetition Collateral").

                                                                                              14                  11.2.   Review of Lender's Liens and Claims. The stipulations in Section 10.1

                                                                                              15 above shall be binding on all parties in interest in this Case, subject only to final determination of

                                                                                              16 Lenders' interests concerning the issues alleged in the "Retention of Title Proceedings" (defined

                                                                                              17 below), unless and solely to the extent that (i) a party in interest files a challenge to such

                                                                                              18 stipulations on or before September 30, 2020, and (ii) the Court rules in favor of any such plaintiff

                                                                                              19 in any such timely and properly filed challenge. If and to the extent that such a challenge is not

                                                                                              20 timely filed and so determined against Lender (1) the claims, liens and security interests of Lender

                                                                                              21 in the Prepetition Collateral shall be deemed to be allowed for all purposes and shall not be subject

                                                                                              22 to challenge by any party in interest as to extent, validity, priority or otherwise and (2) the

                                                                                              23 stipulations and representations in Paragraph 11.1 above shall be binding on all parties in interest

                                                                                              24 in this Case. For purposes of this Pre-Sale Stipulation, “Retention of Title Proceedings” shall

                                                                                              25 mean that certain Adversary Proceeding No. 20-04034 commenced in this Case and any objections

                                                                                              26 to the Sale that have been or may be brought after the date hereof alleging that a third party has

                                                                                              27 retained title to any of the Assets.

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                                                                                              1                  11.3.   Surcharge Waiver. Except to the extent that Lender refuses to pay any

                                                                                              2 portion of the Estate Payment that is determined to be due and payable or accrued in accordance

                                                                                              3 with this Pre-Sale Stipulation, the Trustee (on behalf of Debtor's estate) waives any claim for

                                                                                              4 surcharge pursuant to section 506(c) of the Bankruptcy Code, as well as any claim for an "equities

                                                                                              5 of the case" exception under section 552(b) of the Bankruptcy Code.

                                                                                              6          12.     Incorporation. This Stipulation modifies the Final Order, the Cash Collateral

                                                                                              7 Stipulation, Budget, and subsequent budgets.

                                                                                              8          13.     Miscellaneous.

                                                                                              9                  13.1.   Captions. Section and paragraph titles or captions contained herein are

                                                                                             10 inserted as a matter of convenience and for reference purposes only, and in no way define, limit,

                                                                                             11 extend or describe the scope of this Stipulation.

                                                                                             12                  13.2.   Continuing Jurisdiction. Any dispute related to this Stipulation shall be
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                                                                                             13 resolved by the Bankruptcy Court.

                                                                                             14                  13.3.   Construction. The Parties acknowledge that each party and its counsel have

                                                                                             15 reviewed and revised this Stipulation and that the normal rule of construction to the effect that any

                                                                                             16 ambiguities are to be resolved against the drafting party shall not be employed in the interpretation

                                                                                             17 of this Stipulation or any amendment or exhibits hereto.

                                                                                             18                  13.4.   Authority. Each of the Parties represents that he or she is competent and has

                                                                                             19 all necessary right, power, and authority to enter into and perform this Stipulation under all

                                                                                             20 applicable laws.

                                                                                             21                  13.5.   Counterparts. This Stipulation may be executed in any number of

                                                                                             22 counterparts, each of which when executed and delivered shall be deemed to be an original and all

                                                                                             23 of which counterparts taken together shall constitute but one and the same instrument.

                                                                                             24                  13.6.   Further Assurances. Debtor and Lender shall make, execute, and deliver

                                                                                             25 such documents and undertake such other and further acts as may be reasonably necessary or

                                                                                             26 appropriate to carry out the intent of the Parties hereto.

                                                                                             27

                                                                                             28          IT IS SO AGREED:


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                                                                                              1

                                                                                              2 DATED: September 10, 2020

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                                                                                              4                                        By:            /s/ Lois I. Brady
                                                                                                                                              Lois I. Brady, Trustee
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                                                                                              6

                                                                                              7                                        Wells Fargo Bank, National Association
                                                                                                  DATED: September 10, 2020
                                                                                              8

                                                                                              9                                        By:            /s/ Gary Harrigian
                                                                                                                                              By: Gary Harrigian
                                                                                             10                                               Its: Senior Vice President, Regional Portfolio
                                                                                             11                                               Manager

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                                                                                            ARGONAUT INSURANCE COMPANY
                                                                                            INDEMNITY AGREEMENT-SHORT FORM A
                                                                                            COMMERCIAL SURETY



                                                                                                                                            defined) for
themselves, their personal representatives, heirs, successors and assigns, in connection with and in consideration for any Bonds for which Surety now
is or hereafter becomes surety and hereby agree with, warrant and represent to, and bind themselves jointly and severally to Surety.
DEFINITIONS:
BOND: Any and all bonds, undertakings or instruments of guarantee, including prequalifications and bid bonds and any renewals, mo dific ations o r
extensions thereof executed by Surety whether before or after the date of this Indemnity Agreement                    . This includes Bonds wr itten fo r
Indemnitors, their subsidiaries and affiliates or for third parties at the request of Indemnitors.
BONDED CONTRACT: An agreement, contract or transaction to which any Indemnitor is a party and which is supported by a Bond issued by Surety.
SURETY: Argonaut Insurance Company, its subsidiaries, affiliates, parents, co-sureties, fronting companies and/or reinsurers and th eir s uc ces sors
and assigns, whether in existence now or formed hereafter and any other entity that issues a bond at the request of the Suret y.
INDEMNITY TO SURETY: The Indemnitors agree to indemnify, exonerate and pay Surety upon demand:
1. All losses                                                                  and other                , i n cur red by Sur ety by r eas on o f h aving
      executed or procuring the execution of any Bond, whether or not Surety has made payment or posted a reserve.
2. An amount sufficient to discharge any claim, loss or expense, whether actual or anticipated, against Surety on any Bond. This sum may be us ed
      by Surety to pay such claim, loss, expense or be held by Surety as collateral security against an actual or anticipated loss on any Bond.
3. Any premium due for any Bond, including renewal premiums, until Surety is furnished satisfactory proof of its discharge from liability un der an y
      Bond.

GENERAL PROVISIONS:
1. An itemized statement of loss and expense incurred by Surety, sworn to by an officer of Surety, shall be prima facie ev i d enc e o f th e fac t an d
    extent of the liability of the Indemnitors to Surety for any claim, loss or suit by Surety against the Indemnitors.
2. Separate suits may be brought under this Agreement as causes of action accrue, and the pendency or termination of any such suit shall n o t bar
    subsequent action by Surety.
3. Interest shall accrue on all amounts due Surety under any provision of this Agreement from the date Surety made demand at 130% of the p r i me
    rate of interest in effect on December 31st of the previous calendar year as published in the Wall Street Journal.
4. Surety shall have the right to decline to execute, renew, modify or extend any Bond including final Bonds where the Surety has ex ecuted a bi d
    bond. Such declination will not release or affect the obligations of the Indemnitors to Surety under this Agreement.
5. Surety shall have every right, defense or remedy which a personal surety without compensation would have, including the right to ex oner ation.
    Indemnitors will, on request of Surety, procure the discharge of Surety from any Bond and any liability by reason thereof. If s uc h d is charge i s
    unattainable, Indemnitors will, if requested by Surety, either deposit collateral with Surety, acceptable to Surety, sufficient to cover all ex posur e,
    actual or potential, under such Bond(s), or make provisions acceptable to Surety for the funding of the bonded obligation( s) wi thin 30 d ay s o f
    written demand or within any shorter period for payment required by the Bond terms. Indemnitors waive to the fullest extent possible their right to
    contest this provision. Indemnitors stipulate and agree that the Surety will not have an adequate remedy at law should Indemnitors fail to ei th er
    obtain the release of the bonded obligations or to deposit collateral with Surety.
6. Surety shall not be obligated to release any collateral until it is provided with competent l egal ev i denc e o f the d i s char ge o f th e bo nded
    obligation(s) and Surety shall not be required to pay interest on any collateral it holds. All collateral shall be cr o ss -appli cable to an y bo nded
    obligation(s).
7.. Indemnitors hereby expressly authorize the Surety to access credit rec ords and to make such pertinent inquiries as may be necessary from thir d
    party sources for underwriting purposes, claim purposes, debt collection, or any information concerning In demni tor s i n c onnection wi th th e
                                                   mnitors hereby release any of the aforementioned from liability i n c onsequence o f fur ni shing o r
    disclosing such information.
8. Surety shall have the right and sole discretion to adjust, settle or compromise any claim, demand or suit upon any Bond.
9. The Indemnitors shall be in default of this Agreement if: (a) RESERVED; (b) Indemnitors make representations to the Surety by or o n beh alf o f
    any of the Indemnitors that prove to have been misleading or materially false when made; (c) Indemnitors are convicted of any fel ony o r ( i f an
    individual) die, abscond or disappear and/or (d) Indemnitors breach any other provision of this Agreement.
10. In the event of a default under a Bonded Contract, Indemnitors grant to Surety a security interest i n al l eq uipment, mac hiner y, i nventor y,
    materials, and all proceeds and products in connection with any Bonded Contract. This Agreement shall for al l purposes constitute a Sec ur i ty
    Agreement and Financing Statement for the benefit of Surety in accordance with the Uniform Commercial Code ("UCC") and all similar statutes.
    In the event there is an act of default under any Bonded Contract, Indemnitors hereby irrevocably authorize Surety, without notice to an y o f th e
    Indemnitors, to perfect the security interest granted herein by filing this Agreement or a copy or other reproduction of this Agreement. Surety may
    add schedules or other documents to this Agreement as necessary to perfect its rights. The failure to fi le o r r ecor d th is Ag r eement or an y
                                                                                                                                          rcise of an y o f i ts
    rights as a se                                                                                                                                  ding th e

11. Indemnitors warrant that they have a substantial, beneficial and material interest in the obtaining of each Bond by an y In demnitor an d i n th e
    transaction(s) for which any Indemnitor has applied or will apply to the Surety for Bonds.
12. Indemnitors represent that they have the full power and authority to execute, deliver and perform this Agreement and to carry out the obligations
    stated herein. Indemnitors further represent and warrant that their execution, delivery and performance of this Agreement doe s not and wi l l n ot
    conflict with, constitute a default under, or result in a breach or violation of any of their respective organizational documents, any law,
    governmental rule or regulation, or any applicable order, writ, injunction, judgment or decree of any court or governmental a uthority, or any other
    agreement binding upon Indemnitors.
13. Invalidity of any provision of this Agreement by reason of the laws of any state, or for any other reason, shall not ren der th e o ther p r ovis ions
    hereof invalid.
14. This Agreement shall be governed by an d construed in accordance with the substantive laws of the State of Texas, without giv ing effec t to i ts
    choice of law principles.
15. This Agreement may be executed in multiple counterparts, and by the Indemnitors on separate counterparts, each of which shall be d eemed to
    be an original, but all of which together shall constitute one and the same instrument. Delivery by telecopy or email of a s igned counterpart of this
    Agreement shall be effective as physical delivery. A duplicate or facsimile copy of th e original of this Agreement shall have the same fo rc e and
    effect as the original.
16. The effective date of this Agreement is the first date any Indemnitor signs same and this Agreement is a continuing obligation of the Indemnitor s
    until Surety is satisfactorily discharged from liability pursuant to the terms and conditions contained herei n. No Indemnitor shall have the right to
    terminate its obligations for any Bond(s) issued during the term hereof.
                                                                                                                                        EXHIBIT B
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17. An Indemnitor may terminate participation in this Agreement only by sending Surety written notice of termination which notice shall be addressed
      to the Surety, to: Attn: Argo Surety, P.O. Box 469011, San Antonio, TX 78246. Sending by overnight delivery: 175 E. Houston Street, Suite 1300,
      San Antonio, TX 78246. Such name and address may be changed by written notice from the Surety. Such notice shall be delivered by certi fied
      mail, postage prepaid or by overnight delivery service such as Federal Express. The termination shall take effect thirty (30) d ays after Sur ety
                                                                             ve the terminating Indemnitor from its obligations for (i) any Bond ex ec uted
      prior to the Termination Date, or (II) any Bond executed after the Termination Date which is a renewal or extension of a Bond issued prior to th e
      Termination Date. The notice of termination shall in no way effect the obligation of any other Indemnitors who have not given such notice.
18. This Agreement is in addition to and not in lieu of any other agreement relating to the obligations described herein.
19. This Agreement pertains solely to Bonds written for Lois I. Brady as Trustee of the Chapter 7 Bankruptcy Estate of Fairn & Swan s on an d an y
replacement bonds issued by Surety.
20. Notwithstanding paragraphs 1, 2 and 3 above, the indemnity of Surety shall be limited to the collateral posted to s ec ure th is Bo nd( s) . An y
collateral posted with Surety shall be retained until the Surety is provided with competent written evidence of the release o f all Bonds written pursuant
to this Agreement.

 IF INDEMNITOR IS A CORPORATION, LIMITED LIABILITY COMPANY OR PARTNERSHIP, SIGN BELOW:
Instructions:
1. If the entity is: 1) a corporation, the secretary and an authorized officer should sign on behalf of the corporation, 2) a li mited liability company, the manager(s) or
   member(s) should sign on behalf of the LLC, 3) a partnership, the partner(s) should sign on behalf of the partnership, or 4) a trust, all trustees should sign.
2. Please provide the entity's federal tax identification number on the line provided.
3. Two signatures are required for all entities and all signatures must be notarized and dated .

Each of the undersigned hereby affirms to the Surety as follows: I am a duly authorized official of the business entity Indem nitor on whose behalf I am executing this
Agreement. In such capacity I am familiar with all of the documents which set forth and establish the rights which govern the affairs, power and authority of such b u s i n e s s
entity including, to the extent applicable, the certificate or articles of incorporation, bylaws, corporate resolutions and/o r partnership, operating or limited liability agreem e n t s
of such business entity. Having reviewed all such applicable documents and instruments and such other facts as deemed approp riate, I hereby affirm that such en t i t y h a s
the power and authority to enter into this Agreement and that the individuals executing this Agreement on behalf of such entity are duly authorized to do so.


Lois I Brady, Trustee of the Chapter 7 Bankruptcy Estate of Fairn & Swanson
                                                                                                    XX-XXXXXXX

Indemnitor Name                                                                                     Federal Tax ID #                                               Month/Date/Year



Signature of Authorized Official                                              Seal                  Signature of Authorized Official                                               Seal


Lois I Brady, Trustee of the Chatper 7 Bankruptcy Estate of Fairn & Swanson


Print or Type Name and Title                                                                        Print or Type Name and Title


ACKNOWLEDGEMENT
STATE OF ___________________________                            County of _____________________

On this _____ day of______________ , _____ , before me personally appeared ______________________________________ , known or proven
to me to be the _________________ of the entity executing the foregoing instrument ("Entity") and
 ___________________________________ , known or proven to me to be the ______________________________________________of the
Entity, and they acknowledged said instrument to be the free and voluntary act and deed of said Entity, for the uses and purposes therein mentioned
and on oath stated that the seal affixed is the seal of said Entity and that it was affixed and that they executed said instrument by authority of the
Entity. IN WITNESS WHEREOF, I have hereunto set my hand and affixed my O FFICIAL SEAL the day and year first above written.
                                                                                                     ___________________________________________________
                                                                                                     Notary Public residing at._______________________________
                                                                                                     (Commission expires__________________________________)




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                             EXHIBIT C


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                                                                                              1 Mark S. Bostick (Bar No. 111241)
                                                                                                Elizabeth Berke-Dreyfuss (Bar No. 114651)
                                                                                              2 Lisa Lenherr (Bar No. 258091)
                                                                                                WENDEL ROSEN LLP
                                                                                              3 1111 Broadway, 24th Floor
                                                                                                Oakland, California 94607-4036
                                                                                              4 Telephone: (510) 834-6600
                                                                                                Fax: (510) 834-1928
                                                                                              5 Email: mbostick@wendel.com
                                                                                                Email: edreyfuss@wendel.com
                                                                                              6 Email: llenherr@wendel.com
                                                                                                Attorneys for Lois I. Brady, Trustee
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                                                                                              9                              UNITED STATES BANKRUPTCY COURT

                                                                                             10                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                             11                                         OAKLAND DIVISION

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                                                                                             13 In re                                               Case No. 20-40990-RLE

                                                                                             14 FAIRN & SWANSON, INC.                               Chapter 7

                                                                                             15
                                                                                                                       Debtor.                      ORDER GRANTING MOTION FOR
                                                                                             16                                                     ORDER [1] APPROVING PRE-SALE
                                                                                                                                                    STIPULATION, [2] AUTHORIZING
                                                                                             17                                                     CHAPTER 7 TRUSTEE TO INCUR
                                                                                                                                                    POST-PETITION DEBT ON AN
                                                                                             18                                                     EMERGENCY BASIS, [3]
                                                                                                                                                    AUTHORIZING CHAPTER 7 TRUSTEE
                                                                                             19                                                     TO EXECUTE AND PAY DEPOSIT TO
                                                                                                                                                    SECURE CUSTODIAL SURETY BOND
                                                                                             20                                                     AND [4] APPROVING SECURED
                                                                                                                                                    PARTY'S CARVE-OUT TO THE ESTATE
                                                                                             21
                                                                                                                                                    Date:    TBD
                                                                                             22                                                     Time:    TBD
                                                                                                                                                    Place:   By video
                                                                                             23                                                     Judge:   The Honorable Roger L. Efremsky

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                                                                                             25
                                                                                                          Upon consideration of Trustee's Motion for Order (1) Approving pre-Sale Stipulation (the
                                                                                             26
                                                                                                  "PSS"), (2) Authorizing Chapter 7 Trustee to Incur Post-Petition Debt on an Emergency Basis, (3)
                                                                                             27
                                                                                                  Authorizing Chapter 7 Trustee to Pay Deposit to Secure Custodial Surety Bond and (4) Approving
                                                                                             28


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                                                                                                  ORDER
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                                                                                              1 Secured Party's Carve-Out to the Estate, filed as Docket No. ___, on September ___ 2020, (the

                                                                                              2 "Motion"), this Court having considered the Motion and the stipulation attached as Exhibit A to

                                                                                              3 the Motion (the "Pre-Sale Stipulation") entered into by and among LOIS I. BRADY, as Chapter 7

                                                                                              4 Trustee ("Trustee") of the above-captioned Fairn & Swanson, Inc. ("Debtor") bankruptcy estate,

                                                                                              5 and WELLS FARGO BANK, NATIONAL ASSOCIATION ("Lender" or "WFB"), and having

                                                                                              6 completed an interim hearing on September ___, 2020, pursuant to 11 U.S.C. § 364 and Fed. R.

                                                                                              7 Bankr. P. 4001(c) and (d), having reviewed the papers on file herein and being fully advised

                                                                                              8 thereby, having found the notice good and property, there being no opposition, and for good

                                                                                              9 cause:

                                                                                             10           IT IS HEREBY ORDERED THAT:

                                                                                             11           1)     The Motion is granted on an interim basis pending a final hearing;

                                                                                             12           2)     Pending a final hearing, the Pre-Sale Stipulation, as defined in the Motion, is
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                                                                                             13 approved and adopted in its entirety as the Order of this Court, binding on all parties in interest in

                                                                                             14 this case;

                                                                                             15           3)     Trustee is authorized to obtain post-petition financing under the terms described in

                                                                                             16 the Stipulation with $500,000 to be obtained immediately to avoid immediate and irreparable

                                                                                             17 harm to the estate pending a final hearing;

                                                                                             18           4)     Trustee is authorized to execute the Argonaut Indemnity Agreement and to make

                                                                                             19 the Bond Payment from the Bank's cash collateral by check, cashiers' check or wire transfer;

                                                                                             20           5)     The Pre-Sale Stipulation (including, without limitation, the terms of the

                                                                                             21 postpetition financing contained therein) was negotiated at arm's length and in good faith by the

                                                                                             22 parties, and in the best interest of Debtor's estate and its creditors;

                                                                                             23           6)     The Estate Carveout (as defined in the Motion) is approved;

                                                                                             24           7)     This Court shall retain sole and exclusive jurisdiction to hear and determine any

                                                                                             25 and all disputes or controversies arising from or related to the implementation, interpretation, or

                                                                                             26 enforcement of the Stipulation or this order;

                                                                                             27           8)     No stay shall apply to the effectiveness of the order; and

                                                                                             28           9)     A final hearing shall be heard on September 30, 2020, at 2:00 p.m.


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                                                                                              1
                                                                                                  APPROVED AS TO FORM:
                                                                                              2

                                                                                              3 PILLSBURY WINTHROP SHAW PITTMAN LLP

                                                                                              4
                                                                                                  By:      /s/ Jonathan Doolittle
                                                                                              5         Jonathan Doolittle
                                                                                                        Attorneys for Wells Fargo Bank, National Association
                                                                                              6

                                                                                              7

                                                                                              8                                         **END OF ORDER**
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